            Case 15-11648-amc             Doc 136       Filed 02/12/16 Entered 02/12/16 11:54:37                    Desc Main
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                                                  IN THE UNITED STATES BANKRUPTCY COURT
                                                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                Mayur Patel                                    §                Case Number:      15-11648-AMC-11
                                                                     §
                      Debtor(s)                                      §                Chapter:          11
                                         REQUEST FOR NOTICE UNDER BANKRUPTCY RULE 2002
                PLEASE TAKE NOTICE THAT Capital One N.A. hereby gives notice as follows:
         Pursuant to 11 U.S.C. §342(f)(1), Ascension Capital Group hereby requests that:
                (i)        all notices given or required to be given in the case; and
                (ii)       all pleadings and correspondence served or required to be served in this case,
         regarding Capital One N.A. should be directed to Ascension Capital Group at the following mailing address effective
         immediately:

                 Attn: Capital One N.A. Department
                 Ascension Capital Group
                 Account: XXXXX5217
                 P.O. Box 165028
                 Irving, TX 75016

                  This request encompasses all notices, copies and pleadings referred to in Rules 2002, 9007 or 9008 of the
         Bankruptcy Rules, including, without limitation, notices of any Orders, Motions, Demands, Complaints, Petitions,
         Pleadings, Requests, Applications, Schedules, Statements, Plans, and any other documents brought before this court
         in this case, whether formal or informal, written or oral, or transmitted or conveyed by mail, delivery, telephone,
         telecopier, telex, or otherwise which affects or seeks to affect the above case.

                                                                   Respectfully submitted,

                                                                   /s/ Marian Garza
                                                                   Marian Garza
                                                                   Bankruptcy Servicer for Capital One N.A.
                                                                   Ascension Capital Group
                                                                   P.O. Box 165028
                                                                   Irving, TX 75016
                                                                   (817) 277-2011, Fax (817) 461-8070
                                                                   ecfnotices@ascensioncapitalgroup.com
                                                                   File # 1085351
